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   Johnson & Johnson Health Care Systems Inc.

                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

  JOHNSON & JOHNSON                        :
  HEALTH CARE SYSTEMS INC.,                    Civil Action No. 22-2632(JS)(FLW)
                                           :
                     Plaintiff,                Hon. Jamel K. Semper, U.S.D.J.
                                           :   Hon. Cathy L. Waldor, U.S.M.J.
               vs.                             Hon. Freda L. Wolfson, Special Master
                                           :
  SAVE ON SP, LLC,                             CERTIFICATE OF SERVICE
                                           :
                     Defendant.
                                           :



        JEFFREY J. GREENBAUM, of full age, certifies that on the 27th day of

  August 2024, I caused a copy of a Notice of Motion, Declaration of Jeffrey J.

  Greenbaum, and proposed form of Order, all in support of the Joint Motion to Seal
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  of Plaintiff Johnson & Johnson Health Care Systems Inc. and Defendant Save On

  SP, LLC to be served via CM/ECF on all counsel of record.

        I certify under penalty of perjury that the foregoing is true and correct.


                                                 s/ Jeffrey J. Greenbaum
                                                  JEFFREY J. GREENBAUM
  Dated:      August 27, 2024




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